                  Case 2:20-cv-00872-PD Document 17 Filed 06/16/20 Page 1 of 2



                                          IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  CHREYL A. MORETT                                                              :             CIVIL ACTION
              Plaintiff,                                                        :
                                                                                :
                                     v.                                         :
                                                                                :             NO. 20-872
  WILLIAM GRETZULA, et. al.                                                     :
             Defendants.                                                        :
                                                                                :
                                                                                :
                                                                                :
                                                                                :

                                                                 CONFERENCE NOTICE

       A settlement conference will be held on July 29, 2020 at 9:30 A.M. before the Honorable
Timothy R. Rice, United States Magistrate Judge, via TELECONFERENCE.

                    •     Please notify the Court if settlement is not a real possibility.

                    •     The conference will not be held unless counsel has clients with full and complete
                          settlement authority physically present for the duration of the conference. Full and
                          complete authority means the party’s representative must possess authority consistent
                          with the most recent demand. 1

                    •     If the defendant does not intend to make a settlement offer, or intends to offer only a
                          nuisance value, defendant should arrange a telephone conference with chambers and
                          counsel for plaintiff.

                    •     If jointly requested by counsel, the judge is available for ex parte telephone conferences
                          with each side before the scheduled in-person settlement conference. Please contact
                          chambers to arrange a pre-conference telephone call.

        Please complete the attached summary and email it to
chambers_of_magistrate_judge_timothy_rice@paed.uscourts.gov or fax to (267) 299-5064 on or before
July 17, 2020.
                                                  /s/ Donna Marie Croce
                                                  Donna Marie Croce, Deputy
                                                  Honorable Timothy R. Rice
                                                  U.S. Magistrate Judge
                                                  (267) 299-7660
Date: June 16, 2020
Cc:     Counsel of record

             1 Parties include all persons, corporations or other business entities, and insurance companies with an interest in the case, and each entity with an interest
in the case must attend the conference. In the case of corporate or other business entities, the corporate official with ultimate settlement authority is required to attend.
Where an insurance company is involved, a representative with full and complete settlement authority is also required to attend.
             Case 2:20-cv-00872-PD Document 17 Filed 06/16/20 Page 2 of 2




                            SETTLEMENT CONFERENCE SUMMARY


CAPTION: Cheryl A. Morett v. William Gretzula, et. al. 20-872


DISTRICT COURT JUDGE:                                                          JURY / NONJURY
                                               (Circle One)
      TRIAL/POOL DATE:


COUNSEL ATTENDING SETTLEMENT CONFERENCE:

   Name:

   Address:

   Phone:                                        Cell:
   Client:

CLIENT ATTENDING SETTLEMENT CONFERENCE:

       Name of Individual with Ultimate Settlement Authority who will be present at the settlement
   conference (include company and position where applicable):



MOTIONS PENDING:




OTHER RELEVANT MATTERS:




PRIOR OFFERS / DEMANDS:




                 ATTACH SYNOPSIS OF CASE (LIMITED TO ONE –TWO PAGES)
